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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                             The Honorable Joseph G. Rosania, Jr.


  In re:
  ARMED BEAVERS LLC,                                Bankruptcy Case No. 20-14963 JGR
                                                    Chapter 11 (Subchapter V)
  Employer’s Tax Identification No. [if any]:
  XX-XXXXXXX
  Debtor(s).
____________________________________________________________________________

      ORDER AND NOTICE OF: (1) TELEPHONIC STATUS CONFERENCE UNDER
         11 U.S.C. § 1188; and (2) DEADLINE FOR FILING PROOFS OF CLAIM
____________________________________________________________________________

        THIS MATTER comes before the Court sua sponte. The Court has conducted a
preliminary review of the file and has determined that a Status Conference is required pursuant
to 11 U.S.C. § 1188. At the Status Conference the Debtor shall be prepared to:

   a) inform the Court generally about the nature of the Debtor’s assets and liabilities, source
      or sources of income, any business conducted, and the reasons for filing bankruptcy;

   b) discuss generally the Debtor’s intended plan of reorganization (including whether such
      plan of reorganization is anticipated to be consensual), changes in operations, insurance
      coverage, tax liability, restructuring of debt, use of cash collateral, and other matters
      pertinent to the Debtor’s financial affairs, business, or reorganization;

   c)    if applicable, advise the Court regarding the Debtor’s operating financial projections for
        the period preceding the filing of a plan, a budget for the professionals in the case, and
        any particularities of the case that require resolution;

   d) propose a schedule for the filing of a plan of reorganization, objections to claims and, if
      applicable, anticipated avoidance actions or other adversary proceedings that are critical
      to the reorganization;

   e) advise the Court regarding the status of any pending motions; and

   f)   identify any other issues that may require prompt attention of the Court or otherwise may
        be necessary to ensure expeditious and economical resolution of this case.

        IT IS THEREFORE ORDERED that:

   1. The Debtor shall telephonically appear on Tuesday, September 15, 2020 at 2:00 p.m.,
      in Courtroom B, United States Bankruptcy Court, U. S. Custom House, 721 19th Street,
      Denver, Colorado 80202, for a Status Conference. Failure of the Debtor to appear shall
      result in the setting of a hearing to show cause why appropriate sanctions should not be
      imposed for failing to appear, which sanctions may include dismissal of the case;
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   2. The Debtor shall file a pre-Status Conference report on or before Tuesday, September
      1, 2020. The report must detail the efforts undertaken by the Debtor to attain a
      consensual plan of reorganization and any future contemplated efforts;

   3. The Subchapter V Trustee shall also telephonically appear and be heard at the Status
      Conference regarding, but not limited to, the Trustee’s efforts to facilitate the
      development of a consensual plan of reorganization;

   4. Non-Governmental Proofs of Claim must be filed on or before Wednesday, September
      30, 2020. Parties shall refer to the Notice of Meeting of Creditors issued in this case for
      more complete information; and

   5. The Clerk of the Court shall cause this Order and Notice to be served on all creditors
      and other parties in interest.

         IT IS FURTHER ORDERED that parties shall appear by telephone at the hearing. The
following instructions are provided for appearing by telephone and connecting to the conference
call line:

       Dial 1-888-684-8852, a few minutes prior to commencement of the hearing. It is a
       computerized system and you will be prompted to input an access code, followed
       by the pound sign (#). The access code is: 9369782. You will then be connected
       into the conference.

Failure to connect to the conference in a timely manner may preclude your participation in the
hearing. If you are unable to connect after following the instructions provided, please call the
Judge’s chambers at 720-904-7327 and leave a name and the telephone number where you
can be reached and the Court will return the call.

       DATED this 24th day of July, 2020.

                                             BY THE COURT:

                                             ______________________________
                                             Joseph G. Rosania, Jr.,
                                             United States Bankruptcy Court Judge
